                                                                           Jenna Jankowski
                                                                           Assistant City Solicitor
                                                                           Civil Rights Unit
                                                                           14th Floor
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                                                                         jenna.jankowski@phila.gov
                                          July 11, 2022

VIA ECF
The Honorable Paul S. Diamond
United States District Judge for the
Eastern District of Pennsylvania
14614 U.S. Courthouse
601 Market Street, Philadelphia, PA 19106
Chambers_of_Judge_Paul_S_Diamond@paed.uscourts.gov

       Re:    Efunnuga v. Farley, Civ. No. 18-924


Dear Judge Diamond:

        I represent the Defendants in the above-referenced matter and I write on behalf of both parties
as Plaintiff Olutokunbo Efunnuga, is proceeding pro se.

       Mr. Efunnuga has written a letter to me requesting my written consent for him to amend his
Complaint to streamline the claims he has brought and to correct defects in his Third Amended
Complaint. I do not oppose the amendment of the Complaint. In order to meaningfully respond to the
Complaint and conduct any discovery that may be required thereafter, the parties hereby request an
extension of sixty (60) days of the deadlines outlined in the Court’s June 14, 2022 Scheduling Order.

       The parties thank the Court for its consideration.


                                                     Respectfully submitted,


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                                                     Jenna Jankowski
                                                     Assistant City Solicitor
